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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

MATTHEW ORVILLE JONES,                     )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )             Case No. CIV-20-746-SM
                                           )
ANDREW M. SAUL,                            )
COMMISSIONER OF SOCIAL                     )
SECURITY,                                  )
                                           )
       Defendant.                          )

                                          ORDER

       This matter comes before the Court for review of the Report and Recommendation

[Doc. No. 4] issued by United States Magistrate Judge Suzanne Mitchell pursuant to 28

U.S.C. § 636(b)(1)(B) and (C). Judge Mitchell recommends Plaintiff’s Application to

Proceed in District Court without Prepaying Fees or Costs be granted in part and denied in

part. On August 17, 2020, Plaintiff filed his objections [Doc. No. 5]. Plaintiff asserts he

does not have sufficient funds to pay his monthly living expenses and the filing fee. Having

carefully reviewed Plaintiff’s Application to Proceed in District Court without Prepaying

Fees or Costs, the Report and Recommendation, and Plaintiff’s Objections, the Court finds

Plaintiff is financially able to pay the filing fee in monthly payments.

       Thus, the Court ADOPTS IN PART the Report and Recommendation [Doc. No. 4]

issued by the Magistrate Judge on August 3, 2020 as set forth herein. Plaintiff’s Application

to Proceed in District Court without Prepaying Fees and Costs is GRANTED IN PART

and DENIED IN PART as set forth herein.
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       IT IS THEREFORE ORDERED that Plaintiff shall make the first $25.00 payment

to the Court Clerk within thirty (30) days of this Order. Thereafter, Plaintiff shall pay

$25.00 on or before the first day of each month. Failure to pay the filing fee as directed

may result in this matter being dismissed pursuant to the Federal Rules of Civil Procedure.

The Court Clerk shall not issue process until at least $50.00 has been paid toward the filing

fee in this matter.

       IT IS SO ORDERED this 19th day of October, 2020.




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